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                                        ORDERED.

         Dated: September 04, 2019




                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:
                                                              Case No: 8:19-bk-03059-RCT
Karin D. Case                                                 Chapter 7

                 DEBTOR                        /

                  ORDER APPROVING APPLICATION FOR COMPENSATION
                     FOR REALTOR AND SHORT SALE NEGOTIATOR

          This matter came before the Court, upon the Chapter 7 Trustee’s Application for
Compensation for Realtor (Application, Doc. No. 21) wherein the Trustee requests that the Court
award fees to Real Estate Professionals, BK Global Real Estate Services and Greg Armstrong of
Coldwell Banker F.I. Grey Residential, Inc. (“Listing Agent”) in the amount of: $10,950.00 or
6% of the base sale price from the proposed sale of the property located at 615 6th Ave N Safety
Harbor, FL 34695. The Application was served upon all interested parties with the Local Rule
2002-4 negative notice legend informing the parties of their opportunity to respond within 21
days of the date of service; no party filed a response within the time permitted; and the Court
therefore considers the Application unopposed. Accordingly, it is:
          ORDERED
          The Application is approved and the Trustee is authorized to
          1. Pay to Listing Agent fees in the total amount of up to $10,950.00, or 6% of the gross
             sale price from the proposed sale of the property located at 615 6th Ave N Safety
             Harbor, FL 34695.
          2. Any sharing of the fees by Listing Agent with a co-operating agent does not
             violate this Order.
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       3. Such fees to be paid at closing without further Order from the Court.

Attorney, Richard M. Dauval, Esq. is directed to serve a copy of this order on interested parties
and file a proof of service within 3 days of entry of the order.
